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                                   UNITED STATES DISTRICT COURT
                                                         FOR THE
                                      SOUTHERN DISTRICT OF IOWA
                                 Report on Defendant Under Pretrial Supervision



Name of Defendant: Jacob Robert Steiniger                              Case Number: 4:24-CR-00172-003

Name of Judicial Officer:        William P. Kelly, U.S. Magistrate Judge

Charge:               18 U.S.C. § 371- Conspiracy (Ct. 1)
                      26 U.S.C. § 5861(f) - Making an Unregistered Destructive Device (Ct. 2)
                      26 U.S.C. § 5861(d) - Possession of an Unregistered Destructive Device (Ct. 3)

Placed on Bond:       January 10, 2025

Type of Bond:         Personal Recognizance

Trial Date:           March 3, 2025

Assistant U. S.
Attorney:             MacKenzie Benson Tubbs Defense Attorney: Peter Joseph Ickes

                                               PETITIONING THE COURT

The probation officer believes that the offender has violated one or more conditions of supervision, as outlined below:

Violations

    1. Use of Controlled Substance-Marijuana


    Nature of Noncompliance

    On January 14, 2025, an unannounced home contact was conducted at Mr. Steiniger’s residence. During the
    home contact, Mr. Steiniger provided a urine sample. The sample was presumptive positive for marijuana. Mr.
    Steiniger admitted to smoking approximatley one bowl of marijuana around 8:00 A.M. on the morning of
    January 14, 2025, prior to officers’ arrival at the residence.

U. S. Probation Officer Action:
Mr. Steiniger was verbally admonished. He was directed to obtain a substance use assessment and provided with
information on where to report for the assessment. Additionally, Mr. Steiniger is enrolled in random urinalysis
testing, as least monthly.
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  Background Information:
  On January 10, 2025, Mr. Steiniger initially appeared before the Honorable Helen C. Adams. At the time, he was
  released on bond with pretrial supervision. This is Mr. Steiniger’s first violation while on pretrial release. Trial is
  scheduled for March 3, 2025.


                                                             Respectfully submitted,

                                                        By

                                                             Ashley Knight
                                                             Senior U.S. Probation Officer
                                                             Date: January 14, 2025




                   The Probation Office recommends that no further action be taken at this time.




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  The United States Attorney’s Office:

    X
    ☐      Does not object to the proposed action.

    ☐      Objects but does not request a formal hearing be set.

    ☐      Objects and will petition the Court requesting that a formal hearing be set.




   AUSA: MacKenzie Tubbs                                     Signature:



    ☐      No further action is needed

    ☐      Submit a request for modification of the condition or term of supervision.

    ☐      Submit a request for warrant or summons.

    ☐      Other:




                                                                              Signature of Judicial Officer



                                                                                            Date




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